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             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

                              Case No. 22-12419


CONTINENTAL HOLDINGS, INC., )

           Appellant,               )

v.                                  ) D. Ct. Case No. 3:12-CV-850-HES

HOUSTON PIPE LINE             )
COMPANY, L.P. and HPL GP, LLC, On appeal from the United States
                              ) District Court for the Middle District
        Appellees.              of Florida, Jacksonville Division
                              )



                        APPELLANT’S INITIAL BRIEF




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    Certificate of Interested Persons and Corporate Disclosure Statement

      Continental Holdings, Inc. discloses the following pursuant to Rule 26.1,

Federal Rules of Appellate Procedure:

       The name of each person, attorney, association or persons, firm, law firm,
partnership, and corporation that has or may have an interest in the outcome of this
action—including subsidiaries, conglomerates, affiliates, parent corporations,
publicly-traded companies that own 10% or more of a party’s stock, and all other
identifiable legal entities related to any party in the case:

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   Continental Holdings, Inc., a Wyoming corporation, Appellant

   Continental Level 3, Inc., f/k/a Continental Kiewit Inc., a Delaware
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  HPL GP, LLC, a Delaware limited liability company, Appellee

  Houston Pipe Line Company, L.P., a Delaware limited partnership, Appellee

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  Level 3 Communications, Inc., a Delaware corporation

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  Taft Stettinius & Hollister LLP, Attorneys for HPL GP, LLC and Houston
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                     Statement Regarding Oral Argument

      The civil action below involved issues of successor liability for

environmental contamination of property owned by the City of Jacksonville that

occurred more than a hundred years ago. The issues for review in this appeal are

the propriety of the District Court’s orders (i) denying Appellant’s motion to

voluntarily dismiss Appellant’s      third-party complaint against       Appellees,

(ii) imposing sanctions against the Appellant for litigating after the Appellant

repeatedly sought to voluntarily dismiss those claims, and (iii) granting summary

judgment for Appellees (also after Appellant sought to dismiss the claims that were

the subject of the judgment). Because of the unique facts and legal issues of the

case, oral argument should aid the Court’s decisional process.




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                            Statement of Jurisdiction

       The Court has jurisdiction over this appeal because appellant Continental

Holdings, Inc. (“Continental”) filed its notice of appeal within 30 days of the

District Court’s order determining the amount of attorneys’ fees the District Court

held Continental owes appellees Houston Pipe Line Company, L.P. and HPL GP,

LLC (collectively, “Houston”) and four days before the District Court entered a

judgment on that order. See Morillo-Cedron v. Dist. Dir. for the U.S. Citizenship

& Immigration Services, 452 F.3d 1254, 1256 (11th Cir. 2006) (holding a notice of

appeal filed by the government within 55 days of the district court’s order

determining the amount of fees and costs to be paid by the government as

sanctions under Rule 11 was timely filed); and Rule 4(a)(2), Fed. R. App. P. (“A

notice of appeal filed after the court announces a decision or order—but before the

entry of the judgment or order—is treated as filed on the date of and after the

entry.”).1

       Accordingly, this Court has jurisdiction in this appeal pursuant to 28 U.S.C.

§ 1291.




1
 See also City of Jacksonville v. Jacksonville Hospitality Holdings, L.P.; case no.
21-13987-GG (11th Cir. June 17, 2022) (dismissing earlier appeal in these
proceedings because the District Court had not yet calculated the fees and costs the
District Court awarded to Houston).
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                            Statement of the Issues

      1.    Whether the District Court abused its discretion in denying

Continental’s motion to voluntarily dismiss its third-party complaint against

Houston.

      2.    Whether orders of the District Court entered after the District Court

denied Continental’s motion to dismiss should be vacated.




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                                 Statement of the Case

I.      The proceedings in the court below.

        The City of Jacksonville (the “City”) filed its complaint below in 2012 (Doc.

No. 1). Two years later, the City filed a second amended complaint, adding

Continental as a defendant (Doc. No. 87).

        The City’s amended complaint alleged that environmental contamination in

the City’s Confederate Park originated from discharges from a manufactured gas

plant (the “Gas Plant”) that Jacksonville Gas Company owned and operated in

Jacksonville between 1874 and 1912 (Doc. No. 87, pp. 4-5). The City alleged that

Continental is the successor to the Jacksonville Gas Company, by way of a

100-year history that included multiple successor corporations, insolvency

proceedings, and transactions (id.). The City asserted claims against Continental

under    Section   107(a)   of    the   Comprehensive    Environmental     Response,

Compensation, and Liability Act of 1980 (“CERCLA”) and Section 376.313,

Florida Statutes (Doc. No. 87).

        Continental answered the City’s complaint, denied that Continental is the

successor to Jacksonville Gas Company, and asserted a counterclaim against the

City for indemnity because of the City’s ownership and operation of Confederate

Park (Doc. No. 91).



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      In April 2015, Continental filed an amended third-party complaint naming

Houston, Jacksonville Electric Authority (“JEA”), and three other third-party

defendants (Doc. No. 97). Continental alleged in its third-party complaint that

Houston—not Continental—is the successor to Jacksonville Gas Company (id.).

      In November 2015, five months after receiving Houston’s answer,

Continental moved, voluntarily, to dismiss its third-party complaint against

Houston (Doc. No. 184). Houston objected to Continental’s motion (Doc. 190),

and as a result, the District Court denied Continental’s motion to dismiss in

January 2016 (Doc. No. 204).

      Continental filed a second motion to dismiss its complaint against Houston

in September 2016 (Doc. No. 282). Again, Houston objected (Doc. No. 286).

Again, the District Court denied Continental’s motion to dismiss (Doc. No. 294).

      The next month, in October 2016, Houston moved for sanctions against

Continental and Continental’s attorneys for “multiplying the proceedings” against

Houston (the “Sanctions Motion”; Doc. No. 285). Almost a year later, the District

Court granted Houston’s Sanctions Motion, in September 2017 (almost two years

after Continental first tried to dismiss its complaint against Houston), finding that

Continental had “multiplied the proceedings in this case unreasonably and

vexatiously” (the “Sanctions Order”; Doc. No. 306). The District Court reserved




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jurisdiction to determine the amount of fees to be awarded to Houston against

Continental.

      In March 2017, (i) Continental moved for a partial summary judgment

against the City on the issue of successor liability (Doc. No. 295); (ii) the City

moved for a partial summary judgment against Continental on the issue of

successor liability (Doc. No. 298); and (iii) Houston moved for a summary

judgment against Continental on Continental’s claims against Houston in the

third-party complaint (Doc. No. 299).

      More than a year later, in September 2018, the District Court entered an

order (i) denying Continental’s motion for partial summary judgment against the

City, (ii) granting the City’s motion for partial summary judgment against

Continental, and (iii) granting Houston’s motion for summary judgment on

Continental’s third-party complaint (Doc. No. 315).         At the District Court’s

direction, the Clerk of Court entered a judgment against Continental on

Continental’s third-party complaint (Doc. No. 316).

      Because the summary judgment order and accompanying judgment did not

resolve all claims against the parties in the action, Continental moved to certify the

judgment pursuant to Rule 54(b), Federal Rules of Civil Procedure (Doc. No. 323),

so Continental could appeal the court’s summary judgment in favor of Houston.

Houston objected, arguing the judgment was a final judgment and therefore

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certification was unnecessary (Doc. No. 329, p. 2). The District Court denied

certification, without addressing Houston’s argument that the judgment was final

(Doc. No. 330).

      In December 2018, Continental filed a notice of appeal of the summary

judgment in favor of Houston (Doc. No. 333). In the notice, Continental stated

that Continental appealed from the judgment because of Houston’s continuing

argument that the judgment was final.         This Court subsequently dismissed

Continental’s appeal as premature (Case No. 18-15139, Order dated February 26,

2019).

      In July 2021, Continental, the City and JEA settled their respective claims

and stipulated to the dismissal of their claims and counterclaims with prejudice

(Doc. No. 379).

      On October 6, 2021, the District Court held a hearing on Houston’s motion

for attorneys’ fees under the Sanctions Order and Section 376.313, Florida Statutes

(Doc. No. 321). After the hearing, the District Court ordered the parties to “jointly

move to dismiss” Houston’s counterclaims against Continental (Doc. No. 386).

Continental and Houston did so on October 25, 2021 (Doc. No. 387). The District

Court granted the joint motion to dismiss on November 10, 2021 (Doc. No. 388).

On November 12, 2021, Continental filed its second notice of appeal (Doc. No.




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389). This Court again dismissed Continental’s appeal as premature (Case No. 21-

13987, Order dated June 17, 2022).

      On June 22, 2022, the District Court entered an Order awarding Houston

$1,171,277.90 in attorneys’ fees and $308,218.75 in costs (Doc. No. 401).

      On July 21, 2022, Continental filed its notice of this appeal (Doc. No. 402).

      On July 25, 2022, the District Court reduced its Order awarding fees and

costs to a judgment in favor of Houston against Continental (Doc. No. 405).


II.   Statement of the facts.

      1.    In its complaint, the City alleged that Jacksonville Gas Company

owned and operated the Gas Plant from 1874 until 1912, and during that time the

Gas Plant discharged hazardous substances and pollutants that later migrated onto

the City’s property (Doc. No. 87).

      2.    The City also alleged that (i) a second Jacksonville Gas Company,

(ii) Jacksonville Gas Corporation, and (iii) Florida Gas Company (“Florida Gas”)

each succeeded to the liabilities arising out of the first Jacksonville Gas

Company’s operation of the Gas Plant, and that, a hundred years later, Continental

is the successor to all of these companies and therefore responsible for Gas Plant

contamination (Doc. No. 298, pp. 8–16).

      3.    Continental alleged in its third-party complaint that Houston, not

Continental, succeeded to any Gas Plant liabilities that belonged to Florida Gas,
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and that under CERCLA and the similar Florida statute, Houston is liable to

Continental for any environmental response costs Continental incurred in

connection with the Gas Plant (Doc. No. 97).

      4.     In its motion for sanctions and in its motion for summary judgment,

Houston argued that Continental had previously admitted outside the proceedings

below that Continental (not Houston) is the successor to Florida Gas’s liabilities

(Doc. Nos. 285 and 299).              To support its argument, Houston relied on

Continental’s settlement discussions and settlement agreements with insurers of

Florida Gas (id.).2

      5.     In its oppositions to Houston’s sanctions and summary judgment

motions, Continental cited record evidence that shows:

             (i)      Houston, not Continental, succeeded to Florida Gas’s

      liabilities (Doc. No. 302, pp. 12-19);

             (ii)     Continental’s     extra-judicial   statements,     including

      settlement discussions and agreements with Florida Gas’s insurers,

      were not admissions that Continental is the successor to Florida Gas

      (Doc. No. 287, pp. 2-6; Doc. No. 302, pp. 6-12); and


2
 Because others had alleged Continental to be the successor of Florida Gas at other
contaminated sites, Continental paid environmental remediation expenses in
settlements on Florida Gas’s behalf. Continental later sought indemnification from
Florida Gas’s insurers to recoup the environmental expenses Continental paid on
Florida Gas’s behalf (Doc. No. 303-1, pp. 5-8, 18:16-21:5).
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               (iii)   Continental had consistently denied that it is the

         successor to the liabilities of Florida Gas (Doc. No. 303-1, p. 9,

         190:18-21; Doc. No. 303-3, pp. 6-7, 150:4-151:1).

         6.    At the time Continental first moved to voluntarily dismiss its third-

party complaint against Houston (in November 2015), Houston had incurred only

approximately $170,000 in attorneys’ fees in defense of the action (Doc. No. 381,

p. 2).

         7.    When Houston objected to Continental’s motion to dismiss a month

later, Houston alleged it had incurred over $250,000 in attorneys’ fees and costs in

its defense of the action (Doc. No. 190, p. 10).3

         8.    Between November 2015 (when Continental first sought to dismiss

Houston) and October 2021 (the hearing on Houston’s motion to determine the

amount of fees and costs Continental should pay Houston), Houston incurred an

additional $1.4 million in attorneys’ fees and costs in defense of Continental’s

complaint (Doc. No. 381, pp. 2-3).


                                 Standard of Review

         This Court reviews the District Court’s orders denying Continental’s

motions to voluntarily dismiss the third-party complaint for abuse of discretion.

McMahan v. Toto, 256 F.3d 1120, 1128 (11th Cir. 2001).

3
    Costs comprised less than $1,000 of the $250,000 (Doc. No. 320).
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      This Court reviews the District Court’s order granting Houston’s motion for

sanctions for abuse of discretion. See Amlong & Amlong, P.A. v. Denny’s, Inc.,

500 F.3d 1230, 1237 (11th Cir. 2007).


                             Summary of the Argument

      1.    The District Court abused its discretion in denying Continental’s

motion to voluntarily dismiss its third-party complaint against Houston.

      2.    Because the District Court abused its discretion in denying

Continental’s motions to dismiss, this Court should reverse the District Court’s

subsequent orders imposing sanctions against Continental and granting summary

judgment to Houston, and the judgments based on those orders, and remand the

case to the District Court to dismiss Continental’s third-party complaint against

Houston without prejudice.




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                                     Argument

I.    The District Court abused its discretion in denying Continental’s
      motion to dismiss its third-party complaint against Houston.

      A.     A district court should grant a motion to dismiss without prejudice if
             the defendant will not suffer “plain legal prejudice.”

      Rule 41(a)(2), Federal Rules of Civil Procedure, provides that if a defendant

has answered a complaint or filed a motion for summary judgment, a plaintiff may

voluntarily dismiss its action only by an order of the Court:

             Except as provided in Rule 41(a)(1), an action may be
             dismissed at the plaintiff’s request only by court order,
             on terms that the court considers proper. . . . Unless the
             order states otherwise, a dismissal under this paragraph
             (2) is without prejudice.

                                       Rule 41(a)(2), Fed. R. Civ. P.

      “The decision of whether to grant a voluntary dismissal pursuant to Rule

41(a)(2), Fed. R. Civ. P., falls within the sound discretion of the district court.”

Arias v. Cameron, 776 F.3d 1262, 1268 (11th Cir. 2015). In this Circuit, a district

court’s discretion to grant a voluntary dismissal

             must be guided by “the traditional principle that
             dismissal should be allowed unless the defendant will
             suffer some plain prejudice other than the mere prospect
             of a second law suit.”

                                       Kotzen v. Levine, 678 F.2d 140, 140
                                       (11th Cir. 1982) (quoting Durham v.
                                       Florida East Coast Ry. Co., 385 F.2d
                                       366, 368 (5th Cir. 1967), emphasis
                                       added).
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      According to Durham:

            The crucial question to be determined is, Would the
            defendant lose any substantial right by the dismissal. ‘In
            exercising its discretion the court follows the traditional
            principle that dismissal should be allowed unless the
            defendant will suffer some plain legal prejudice other
            than the mere prospect of a second law suit. It is no bar
            to dismissal that plaintiff may obtain some tactical
            advantage thereby.’ The record does not disclose any
            prejudice to the defendant, had a voluntary dismissal
            been granted, other than the annoyance of a second
            litigation upon the same subject matter.

                                      Durham, 385 F.2d at 368 (quoting 2
                                      Barron and Holtzoff, Federal Practice
                                      *369 and Procedure § 912 (Wright's
                                      ed.), emphasis added).


            Generally speaking, a motion for voluntary dismissal
            should be granted unless the defendant will suffer clear
            legal prejudice other than the mere prospect of a second
            lawsuit.

                                      Arias, 776 F.3d at 1268 (citing Fisher
                                      v. Puerto Rico Marine Mgmt., Inc.,
                                      940 F.2d 1502, 1502-03 (11th
                                      Cir.1991), emphasis added).4




4
   Even the loss of a statute of limitation defense does not constitute plain legal
prejudice. See McCants v. Ford Motor Co., Inc., 781 F.2d 855, 859 (11th Cir.
1986) (“We have already held the loss of a valid statute of limitations defense not
to constitute a bar to a dismissal without prejudice.”) (citing Durham, 385 F.2d at
369).
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      Kotzen, Durham, and Arias are consistent with United States Supreme Court

precedent that recognizes Continental had “an unqualified right” to dismiss

Houston without prejudice — as late as during trial:


            Take the case where a trial court is about to direct a
            verdict because of failure of proof in a certain aspect of
            the case. At that time a litigant might know or have
            reason to believe that he could fill the crucial gap in the
            evidence. Traditionally, a plaintiff in such a dilemma has
            had an unqualified right to, upon payment of costs, to
            take a nonsuit in order to file a new action after further
            preparation, unless the defendant would suffer some plain
            legal prejudice other than the mere prospect of a second
            lawsuit.

                                      Cone v. West Virginia Pulp & Paper
                                      Co., 330 U.S. 212, 217 (1947)
                                      (emphasis added).


      B.    Houston did not identify any legal prejudice.

      In its opposition to Continental’s first motion to dismiss, Houston argued

(i) it would be prejudiced if Continental were permitted to conduct discovery

without Houston’s participation in the case, (ii) Continental filed its motion to

dismiss to avoid an adverse ruling, and (iii) granting the motion to dismiss would

not be in the interest of judicial economy (Doc. No. 190, pp. 4–11).

      With respect to Houston’s first argument, at the hearing on Continental’s

first motion to dismiss Houston’s attorney acknowledged the only prejudice

Houston would suffer was that Houston would not be able to participate in
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discovery – which the District Court observed did not appear to constitute

prejudice of any kind (much less “plain legal prejudice”):


            THE COURT: You may have a dog in this fight but the
            dog that brought you in here no longer wants you in here.

            MR. ALEXANDER: And I have some ideas on why that
            is, Your Honor, and I think under the law we have a right
            to stay in at this point for a variety of reasons.

            THE COURT: Tell me those reasons.

            MR. ALEXANDER: No. 1, prejudice. If we’re taken
            out of this case there is going to be expert testimony,
            maybe it will be admitted, maybe it won’t be, and
            summary judgment and a determination and a judgment
            from this court as to whether or not [Continental] is the
            corporate successor to Florida Gas and the Jacksonville
            Gas Company and their affirmative defense that Houston
            Pipe Line is actually the successor. We wouldn’t be part
            of that. We wouldn’t be able to put in our experts, our
            witnesses, our former employees, our documents in our
            case. Now, I understand the law of collateral estoppel,
            that we may not be estopped or bound related to that
            judgment, but we would be paddling uphill, up a mighty
            hill the next time the case is brought and it will be,
            because if [Continental] is out of the case, then
            Mr. Pence [counsel for the City] may be bringing that
            particular action against us. And so we believe, and we
            cited case law in our motion is that when you have a
            prejudice at play, and this is a classic incident of
            prejudice –

            THE COURT: But if you are brought back into this
            litigation or some other litigation about being the
            successor, then you still have the same rights that you
            would have now in this case.

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              MR. ALEXANDER: We would have rights that we
              would be able to deny it. The problem is as a practical
              manner [sic] –

              THE COURT: I’m a having a hard time following the
              prejudice.

                                          Doc. No. 221, pp. 35–36, 34:2–35:18
                                          (emphasis added).


       The District Court had a “hard time following the prejudice” because—

under the precedent of this Circuit—there was none. See Kotzen, 678 F.2d 140

(“dismissal should be allowed unless the defendant will suffer some plain prejudice

other than the mere prospect of a second law suit.’”) (emphasis added); and

Durham, 385 F.2d at 368 (“It is no bar to dismissal that plaintiff may obtain some

tactical advantage . . . .”).5

       Binding precedent also bars Houston’s second argument: that dismissal

should be denied because Continental filed its motion to dismiss Houston to avoid

an adverse ruling. See Pontenberg v. Boston Scientific Corp., 252 F.3d 1253, 1258




5
  See also, Yandell Constr. Services, Inc. v. LMR Constr., LLC, 1:17-cv-01037-
JDB, 2018 WL 4375112 (W.D. Tenn. Sept. 13, 2018) (holding surety’s speculation
that, under an unsettled area of Tennessee law, a surety might be bound by an
adverse judgment against its principal was not “legal prejudice” that would
preclude the court from granting the plaintiff’s motion to voluntarily dismiss the
surety, even though the claim against the principal would remain pending).
                                         15
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(11th Cir. 2001) (“[T]he mere attempt to avoid an adverse summary judgment

ruling in and of itself . . . does not constitute plain legal prejudice.”).6

       Finally, it is difficult to reconcile Houston’s third argument—that denying

the motion to dismiss would serve the interest of judicial economy—with the

thirty-five motions and other papers subsequently filed by Continental and

Houston that the District Court was required to consider, much less the additional

$1.4 million in self-inflicted attorneys’ fees and costs Houston incurred, all after

the District Court denied Continental’s motion to dismiss.


       C.     The District Court did not find any legal prejudice.

       The District Court did not find Houston would lose any legal rights if

Continental’s motion to dismiss were granted.

       The District Court’s decision apparently was based on the District Court’s

unsupported speculation that Houston would be a defendant in future litigation,

which is not legal prejudice under this Circuit’s precedent:


              THE COURT: Well, I got the feeling, I don’t have
              anything to support that, that if I grant your motion to
              dismiss, they are going to show up again somewhere in



6
   Houston’s argument lacks merit for the additional reason that when Houston
objected to Continental’s motion to dismiss, Houston had filed no dispositive
motion. Houston filed its motion for summary judgment ten months after the
District Court denied Continental’s motion to dismiss.
                                        16
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            this case, in this case or some other case somewhere else.
            That’s my feeling about it.

                                      Doc. No. 221, 44:6-11 (emphasis
                                      added).


      D.    The District Court abused its discretion in denying Continental’s
            motion to dismiss.

      Absent a finding of legal prejudice, the District Court did not have the

discretion to deny the motion to dismiss.

      In a binding precedent, the Fifth Circuit Court of Appeals held that when the

only prejudice dismissal would cause is the prospect of subsequent litigation, it is

an abuse of discretion to deny a motion to dismiss:


            As we noted in Durham v. Florida East Coast Ry. Co.,
            385 F.2d 366 (5th Cir. 1967), a court exercising its
            discretion in considering voluntary dismissal must:

                follow the traditional principle that dismissal
                should be allowed unless the defendant will suffer
                some plain prejudice other than the mere prospect
                of a second lawsuit. It is no bar to dismissal that
                plaintiff may obtain some tactical advantage
                thereby.

                385 F.2d at 368 (quoting 2 Barron & Holtzoff
                Federal Practice and Procedure § 912, Wright’s ed.
                and adding emphasis).

            INA came late to the case and suffered a minimum of
            expense. Had the court granted a voluntary dismissal,


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            INA faced only the annoyance of a second litigation upon
            the same subject matter. Despite INA’s insistence that a
            second suit would be only a perpetuation of the frivolous
            and spurious, we conclude that INA would not have lost
            any substantial right by the dismissal.

                                      Holiday Queen Land Corp. v. Baker,
                                      489 F.2d 1031, 1032 (5th Cir. 1974)
                                      (emphasis added).


      The bottom line is that Houston did not show, and the District Court did not

find, that Houston would “lose any substantial right by the dismissal.” Durham,

385 F.2d at 368. The District Court therefore abused its discretion in denying

Continental’s motion to dismiss its third-party complaint.


II.   The Court should reverse the District Court’s orders entered after the
      District Court denied Continental’s motion to dismiss.

      Because the District Court abused its discretion when it denied Continental’s

motion to dismiss, this Court should reverse the District Court’s subsequent orders

and judgments imposing sanctions against Continental, granting summary

judgment in favor of Houston, and awarding attorneys’ fees and costs to Houston

(Doc. Nos. 306, 315, 316, 401, 404, and 405). If the District Court had granted

Continental’s motions to dismiss, Houston would not have been a party and could




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not have filed its motion for sanctions or its motion for summary judgment.7 See

Holiday Queen Land Corp., 489 F.2d at 1032 (reversing order denying plaintiff’s

motion to dismiss without prejudice and subsequent judgment in favor of the

defendants).




7
   In any event, there were issues of fact raised in the record that should have
precluded any award of sanctions or entry of a summary judgment for Houston.
The record is replete with issues of fact relating to the 100-year history of
successor entities to the Jacksonville Gas Company. See, e.g., Doc. No. 279, pp.
10 – 13 and 17 – 20 (citing Doc. Nos. 265-17, 265-25, 265-26, and 280-10 – 280-
16); Doc. No. 302, pp. 6 – 17 (citing Doc. Nos. 299-2 – 299-4, 299-6, 299-14, 299-
17, 303-2 – 303-8, and 303-10 – 303-19); Doc. No. 304, pp. 5 – 21 (citing Doc.
Nos. 304-1 and 305-2 – 305-13).
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